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                                      MINUTES



 CASE NUMBER:            1:19-cr-00105-SOM-1
 CASE NAME:              USA v. (01)*Liane Wilson also known as Liana Shanti
 ATTY FOR PLA:           *Michael David Nammar
 ATTY FOR DEFT:          *Howard K.K. Luke
                          Daniel Luke
 USPO:                   *Darsie Ing-Dodson


       JUDGE:      Susan Oki Mollway             REPORTER:         Debi Read

       DATE:       12/17/2021                    TIME:             8:30am-9:15am


COURT ACTION: EP: Sentencing to Count 1 of the Indictment as to Defendant
(01)Liane Wilson also known as Liana Shanti held.

Defendant 01)Liane Wilson also known as Liana Shanti is present and not in custody.

Court adopts the PSR and it is placed under seal and is available to counsel.

The Memorandum of Plea Agreement has been accepted by the Court.

Recommendations by counsel as to proposed sentence heard.

Allocution by the defendant.

Court’s proposed sentence stated. No legal objections to the proposed sentence.
ADJUDGED:

Probation: 5 YEARS

Fine: $21,000.00. Special Assessment: $100.00. No restitution.

Conditions of Supervision:

You must abide by the mandatory and standard conditions of supervision, including the
following conditions:
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      Since you do not have a recent history of substance abuse and the offense is not
      drug-related, it is recommended that the Court waive the mandatory drug test
      condition: You must submit to one drug test within 15 days of the commencement
      of supervision and at least two drug tests thereafter but no more than eight valid
      drug tests per month during the term of supervision. (mandatory condition)

      You must cooperate in the collection of DNA as directed by the probation officer.
      (mandatory condition)

      You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
      (mandatory condition)

      If this judgment imposes a fine, you must pay in accordance with the Schedule of
      Payments sheet of this judgment. (mandatory condition)

      You must notify the court of any material change in your economic circumstances
      that might affect your ability to pay fines or special assessments. (mandatory
      condition)

      You must report to the probation office in the federal judicial district where you
      are authorized to reside within 72 hours of the time you are sentenced, unless the
      probation officer instructs you to report to a different probation office or within a
      different time frame. (standard condition)

You must abide by the following special conditions:

1     The fine of $21,000.00 is due within 30 days after sentencing. Any unpaid balance
      is to be paid during the period of probation in monthly installments of 10% of your
      gross monthly income, commencing 30 days after the start of probation. The court
      may order that this requirement be changed from time to time as your
      circumstances warrant, but no court order shall be required for your voluntary
      agreement to pay more than the court-ordered amount. Interest shall begin accruing
      on any remaining balance commencing 30 days after the start of probation.
      Payments must be made by payroll deduction, when applicable. You must notify
      the probation officer of any change in your financial circumstances that affect your
      ability to pay. Your financial circumstances must be reviewed by the probation
      officer on at least an annual basis.

2.    You must participate in a mental health assessment as coordinated by the probation
      officer. Based on the results of that assessment, the probation officer may then
      request that the court order specific mental health treatment.

3.    You must provide the probation officer access to any requested financial
      information and authorize the release of any financial information. The probation
      office may share financial information with the U.S. Attorney’s Office.
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4.    You must apply all monies received from income tax refunds, lottery winnings,
      inheritance, judgments and any anticipated or unexpected financial gains to the
      outstanding court-ordered financial obligation, at the discretion and direction of
      the court.

5.    You must not incur new credit charges, or open additional lines of credit, or apply
      for any loans without the prior approval of the probation officer. You must not
      borrow money or take personal loans from any individual without the prior
      approval of the probation officer.

6.    You must maintain a single personal bank account, separate and apart from your
      spouse, any family members or others, into which all income, financial proceeds,
      and gains must be deposited and from which all expenses must be paid.

7.    You must provide the probation officer with access to any and all business records,
      financial records, client lists, and other records, pertaining to the operation of any
      business you own, in whole or in part, as directed by the probation officer.

8.    If you are self-employed, you must employ a bookkeeper and/or accountant to
      manage your business records as to income and expenses, and profits and losses,
      on a regular basis, at the discretion and direction of the probation officer.

9.    You must cooperate with the Internal Revenue Service and State of Hawaii
      Department of Taxation and arrange for the payment of delinquent taxes, interest
      and penalties, and the timely filing of tax returns and/or corrected amended tax
      returns.

10.   You must submit your person, property, house, residence, vehicle, papers, or
      office, to a search conducted by a United States Probation Officer. Failure to
      submit to a search may be grounds for revocation of release. You must warn any
      other occupants that the premises may be subject to searches pursuant to this
      condition. The probation officer may conduct a search under this condition only
      when reasonable suspicion exists that you have violated a condition of supervision
      and that the areas to be searched contain evidence of this violation. Any search
      must be conducted at a reasonable time and in a reasonable manner.

Defendant advised of her right to appeal within 14 days of entry of judgment.

Submitted by: Agalelei Elkington, Courtroom Manager
